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                                         ISSUE PAPER
                                    GLOBAL CLIMATE CilANGE

BACKGROUND

There is general agreenent in the world scientific community that
a buildup of carbon dioxide and other radiatively active gases is
occurring in the upper atmosphere.      The consensus of current
 science       is     that the amount of CO2 and trace gases in the
 atmosphere,           most noteab y nitrous oxide (N20) methane (CH4),
 ozone,and          the    chloroflurocarbons,                   are    increasing.            Since     these
 gases absorb and enit                   longwave t adiation they are capable of
 influencing the earth's climate.                               The continuiqg buildup of these
  greenhouse" 9ases are !l'ely to be the modimportant cause of
 climate change over the next century.    While early concerns
     ocused    on    the    rule   of    CO2        In    the    global   warming      process,          there
 is now growing acceptance that the role of other greenhouse gases
       changing the climate will become about as important as CO2.
      ere is genera. agreement that if present trends continue, the
 combined       concentrations            of        atmospheric         CO2   and    other      greenhouse
 gases would be approx:nately radiatively equivalent to a doubling
 o      02 tron pre-industr ial levels.                           Some researchers predict that
un doubling           could    tage      place as early as                2030 but most          estinte
 call    for    it    to uc.:or    .ater        in       the    21st century.

 Current         experiments            using            the     most     sophisticated            general
      reulation models of               the climatic             system show that          increases of
      e global       mean equilibrium surface                      temperature        of       between    1 5
 and 4.5 degrees C. would be associated with the predicted
  oubling  of   atmospheric    CO2   concentrations   (
 concentrations).    Most recent work tends toward th    u
 although  this   is   not  yet   apparent  from   observat o s h
 complexity of the global climatic system, the imprecis
 models,       and major       gaps       in    present          knowledge --              t
 the area of ocean-atmosphere interactions and clouds
 precision impossible until further research progress s
 these areas. Other factors may also influence cil
 none will be as important as the greenhouse gases ur
 century.                                             ng the next

 Most of the g lobal cl imate change iSsues are relat d
 'mpacts, such as a rise in surface temperature and s
 have     long       been   linked .           As    we    learn more         abou     t
 tropospheric chemistry, the relationship between th
 effects and other effects such as depletion         f
 are becoming more apparent.       The linkage stems
 related emission sources and the chemical int
 various gases    whose    increased   concentration
 example, to both a surface temperature rise
 tropospheric ozone.    It should also be noted that    h
 temperature  changes     (tropospheric   warmín
 cooling) significantly modify the predicti g       and stratospheric
 Portubations of atmospheric composition, y       th a n e a   o

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been largely   ignored.   Such complex relationships also suggest   a
Possible need to consider regional scale phenomenon (e.g. methane
emissions and their atmospheric chemistry) in concert with the
global scale atmospheric issues since they too have some conmon
emission species, emission sources and related chemistry.

The growing realization of these interactions has led to the
creation of a number of interdisciplinary research programs.   The
U.S.    National       Academy of Sciences   (NAS)   International
Geosphere-Biosphere Program and the International Council of
Scientific Unions (ICSU) Global Change Program are two key
examples.      Other programs include the World Meteorological
Organization (WMO) World Climate Program, and the International
Institute for Applied Systems Analysis (I IASA) Sustainable Global
Devel opmen t Pr og r am .

DISCUSSION

Concern over   the   increased atmospheric concentrations of these
gases   and    the     potential  consequences  of   these  higher
concentrations ( e.g. global warming, changes in precipitation
patterns, sea level rise and depletion of the ozone layer) has
caused   interest across a number of agencies,      Congressional
Committees, and international organizations.   Also at issue are
the direct and indirect impacts on human health, the environment,
global settlement potterns, etc.   These include a potential for
increased basal cell skin cancer, dramatic changes in some of the
world's coastlines, potential elimination of major portions of
tropical rainforests, etc.

NASA, NSF, NOAA, DOE, and EPA all have substantial research
programs dealing with one or more aspects of the issue. Others,
such as State, USDA, DOI, and AID are interested in the policy
and scientific implications that may flow from the research.
Internationally, WMO, the United Nations Environment Program
(UNEP), and ICSU are all involved in the issue both seperately
and cooperatively through the World Climate Program.     Recent
events such as the Convention for Protection of the Ozone Layer
signed last summer and the joint UNEP/WHO/ICSU Conference on CO2
and other greenhouse gases (Villach, October, 1985) provided a
major impetus to the need to reexamine our approach to these
issues.     Others,  such  as  the  World    Resources  Institute
(Washington, D.C.) and IIASA in Vienna, Austria have major
program components which dealing with various aspects of the
issue.
Recently, interest domestically has also expanded to Congress
where the Senate held hearings      on global climate change in
December   1985  and   June   1986.     A   Concurrent  Resolution
(S.Con.Res.96)  calling   for   the  President  to   establish  an
"International Greenhouse Year" which would be similiar to the
earlier IGY was introduced this spring.


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Generally, this interest has evolved from the realization that
increasing    concentrations    of     the     radiatively   active
("greenhouse") gases may lead to global climate change which
could be significantly outside historically measured ranges for
the current    interglacial  period.     While   there   is general
agreement that much of this concentration has anthropogenic
causes there is also general agreement that immediate drastic
Policy action is not required.    There is, however, a large group
of scientists and senior analysts who feel that in order to be
able to implement necessary policy sometime in the future we must
begin to identify options and strategies today.   Policy analysis
of this type, they say, must go on parallel with the scientific
efforts; it cannot wait for more concrete scientific results.


As scientific study continues to develop chemical and physical
linkages between a number of these phenomenon such development
also points out the need for coordinated interdisciplinary policy
analysis.    These research findings, coupled with the rapid
proliferation of interdisciplinary global change programs and the
significant   number  of   specific  domestic  and  international
research and policy iniatives dealing with aspects of the issue
requires better federal government coordination.

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